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September 20, 2011

By ECF
Honorable Sterling Johnson, Jr.

United State's District Judge
Eastern District of NeW York
225 Cadman Plaza East
Brool<lyn, New York

Re: Governm'ent Employees Insurance Co. et al. v. Ivy Med Distributors Inc., et al.
` Docket No.: CV 10 3037 (S.])(RER)
Our File No.: 5100-2

Dear Judge Johnson:

I Write pursuant to the Court’s individual rules for the purposes of requesting permission to immediately
move to enforce the terms of the settlement between Plaintiffs, Governrnent Ernployees lnsurance Co.,
GEICO Indemnity Co., GEICO Gene`ral Insuranc'e Company and GEICO Casualty Co. (collectively
“GEICO”) and Defendants, Millennium Supplies, Inc. and its owner, Alex Tardakovsky (collectively the
“Millennium Defendants”).

Effec`tive July 13, 2011, GEICO and the Millennium Defendants entered into a confidential settlement
agreement (the “Agreement”).l The Agreement Was signed by the Millennium Defendants on July 8,
2011 and by GEICO on July 13, 2011. The Agreement resolved all of GEICO’S claims against the
Millennjum 'Defendants asserted in this action, as Well as all claims by l\/lillennium against GEICO
seeking payment of outstanding claims for durable medical equipment

The implementation of the settlement Was clearly Spelled out in the Agreement.
Pa:ragraph 4.A. required the Millennjum Defendants to dismiss, vvith prejudice, all collection lawsuits

and/or arbitrations then pending against GEICO, and to have their collection counsel execute and return
stipulations of dismissal, With prejudice, in those cases Withjn 30 days following receipt. Paragraph 4.C

 

l The Parties agreed that the Agreement Would be confidential except “as required to enforce” the Agreernent,
and as such, We have cited only to those paragraphs that are relevant to resolving this dispute.

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imposes liquidated damages on the Millennium Defendants for their non compliance with paragraph
4.A., requiring them to pay GEICO an amount equal to the face value of the lawsuits (i.e_ the amount of
the ad damnum clause) as well as reimbursing GEICO for its legal fees incurred in securing compliance
with the Agreement.

ln addition, paragraph 5.A of the Agree'ment states as follows:

TM Defendants agree that they shall not, in the future, submit or cause to be submitted bills to, or
commence, or cause to be commenced, any lawsuits, arbitrations, or other proceedings against
GEICO for healthcare related services and/or goods provided by or through l\/lillennium. TM
Defendants further agree that if they submit or cause to be submitted bills to GEICO or
commence or cause to be commenced lawsuits, arbitrations or other proceedings against GEICO
which are prohibited by this paragraph 5 , and do not withdraw such bills, lawsuits, arbitrations or
other proceedings within thirty (30) days following written notice in accordance with paragraph
6, then the Tl\./l Defendants Will become immediately liable to and pay GEICO (i) an amount
equal to the amount of the bill submitted or the amount sought in such lawsuit, arbitration or
other proceeding, as well as (ii) the legal fees, costs and disbursements incurred by GEICO in
securing compliance with this agreement

The timeline of the relevant post-settlement events are as follows:

July 13, 2011 Effective date of settlement agreement

July 14, 2011 Stipulations of dismissal with prejudice sent by GEICO’ s staff counsel to Maria
Diglio, Esq. (counsel for the Millenniurn Defendants) covering all collection
actions then pending and known to GEIC()

July 14, 2011 Millennium files and serves 77 lawsuits on GEICO (6 days after it has signed the
settlement agreement) seeking payment from GElCO in the amount of
3148,176.71.

August 17, 2011 Rivkin Radler sends to l\/Iaria Diglio, Esq. (counsel for the Millennium
Defendants) notice (by overnight mail) that the agreement has been violated and
includes stipulations of dismissa`l, With prejudice, in the 7"7 cases filed and served
on July14, 2011.

August 19, 2011 Rivkin Radler sends to l\/laria Diglio, Esq. (counsel for the Millennium
Defendants) notice (by overnight mail) that the agreement was been violated
because ll stipulations of dismissal, with prejudice, originally sent on July 14,

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2011, have not been signed and returned. The amount sought in those suits totals
$26,689.29.

September 15, 2011 Millennium files and serves 100 new lawsuits on GEICO, seeking payment in
excess of $175,000.00.

September 16, 2011 Rivl<in Radler sends further notice to Maria Diglio, Esq. (counsel for the
Millennium Defendants) advising of the violations - a copy of the letter is
attached as Exhibit “l ”.

ln short, the Millennium Defendants have not, as of today, complied with the terms of the Agreement by
providing GEICO with the stipulations of dismissal on the 88 collection cases that Were to be
discontinued In addition, and to top it all off, they have now further violated the Agreernent by
commencing an additional 100 collection cases against GEICO, requiring the Company to waste time,
money and legal fees to address the cases. Pursuant to the Agre_ement, GEICO is entitled to the entry of
an order, as follows: (i) directing that the Millennium Defendants dismiss all of the 188 cases that are
pending against GEICO, and (ii) directing that the Millennium Defendants pay GEICO the sum of
3174,866.00 as well as reimbursing GEICO for its legal fees associated with enforcing the Agreen:ient.2

We are prepared to file this motion within 24 hours of receiving permission from the Court.

 

Respectfully submitted,
RI_VKIN RADLER LLP
ear way
Barry I. Levy
cc: l\/lagistrate-Judge Ra:rnon E. Reyes
All Counsel (by ECF)
2 Paragraph 11 of the Agreement states: “ln any action by GEICO to enforce the terms of this Agreement

where it prevails, it shall be entitled to recover its costs, including reasonable attorneys’ fees, from the TM
Defendants.”

